                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-422-MOC-DCK


 NADINE BALLARD, individually and on behalf
 of all others similarly situated,

                Plaintiff,                               Case No. 3:23-cv-422-MOC-DCK

        v.

 BANK OF AMERICA, N.A., et al.

                Defendants.


                       AMENDED MOTION TO CONSOLIDATE AND
                         APPOINT INTERIM LEAD COUNSEL

       Plaintiff in the above-captioned case, through undersigned counsel, hereby moves this

Court for an Order consolidating this case with Magers, et al. v. Bank of America, N.A., et al., Case

No. 3:23-cv-459 (filed July 25, 2023) and Jones, et al. v. Bank of America, N.A., et al., No. 3:23-

cv-00491 (filed August 4, 2023), and appointing Interim Lead Counsel in the consolidated case,

pursuant to Fed. R. Civ. P. 23(g), and 42(a) and LCvR 42.1. A copy of the proposed Order for this

Amended Motion is being submitted through Cyberclerk, pursuant to LCvR 5.2.1(b) and LCvR

7.1(g). In support of Plaintiff’s Amended Motion, Plaintiff shows as follows:

       1.      Plaintiff seeks consolidation of three putative class action cases pending in this

Court involving common issues of law and fact, namely: Nadine Ballard, et al. v. Bank of America,

N.A., et al.. No. 3:23-cv-422-MOC-DCK (Filed July 13, 2023) (“Ballard”), Jason Robert Magers,

et al. v. Bank of America, N.A., et al., Case No. 3:23-cv-459 (“Magers”) and Mia Jones, et al. v.

Bank of America, N.A., et al., No. 3:23-cv-00491 (“Jones”).




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        2.       A previous Motion to Consolidate and Appoint Interim Lead Counsel (Doc. 18)

and Memorandum in Support (Doc. 19) were filed in Ballard on August 4, 2023; a previous Notice

of Filing Motion to Consolidate was filed in Magers on August 4, 2023. The Jones action was

filed on the same day.

        3.       Pursuant to LCvR 42.1, this Amended Motion to Consolidate cases is being filed

in Ballard, with an Amended Notice of Filing being filed in the Magers action and a Notice of

Filing being filed in the Jones action.

        4.       As of the filing of this Amended Motion, Plaintiff is unaware of any additional

actions pending in this District which may involve common issues of fact and law. 1

        5.       Here, all three of the putative class actions assert similar claims arising from

Defendant Bank of America, N.A.’s and Defendant Bank of America Corporation’s (collectively,

“Defendants”) conduct related to Defendants’ actions in opening financial accounts on behalf of

the Plaintiffs and putative class members without their knowledge, authorization or consent.

Accordingly, the Plaintiff respectfully shows that these three actions should be consolidated for all

purposes pursuant to Fed. R. Civ. P. 42(a).

        6.       Under Fed. R. Civ. P. 23(g)(3), “[t]he court may designate interim counsel to act

on behalf of a putative class before determining whether to certify the action as a class action.” In

so appointing, the Court may consider factors relating to the prospective counsel’s reputation and

skills. See Rule 23(g)(1).

        7.       Here, the undersigned attorneys for the Plaintiffs in the three putative class actions

respectfully, jointly request that the Court appoint Marc E. Dann of DannLaw, Jennifer S. Czeisler


1 Christensen v. Bank of America, N.A. (No. 3:23-cv-468), has been filed in the Western District against these Bank
of America. That case, however, centers on the Defendants’ alleged false advertising and failure to pay sign-up
bonuses for rewards credit cards, and therefore does not involve common issues of law and fact as the cases sub
judice.

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of Sterlington PLLC and Charles E. Schaffer of Levin Sedran & Berman LLP as interim Co-Lead

Counsel pursuant to Civ. R. 23(g), appoint Joel R. Rhine of Rhine Law Firm, P.C. as interim liaison

counsel, and appoint Olivia B. Smith of Wallace and Graham, P.A., Israel David of Israel David

LLC, Jim Evangelista of Evangelista Worley LLC, Scott Harris of Milberg Coleman Bryson

Phillips Grossman, PLLC, Jeffrey S. Goldenberg of Goldenberg Schneider, L.P.A., Joseph M.

Lyon of The Lyon Firm and D. Aaron Rihn of Robert Peirce & Associates, P.C. to the Plaintiffs’

Executive Committee with Israel David being appointed as Chairman of the Executive Committee.

The Professional biographies for these attorneys and firms are attached hereto as Exhibits 1-11.

       8.      Plaintiffs’ Counsel in the Ballard, Magers and Jones matters have met and

conferred with regard to this Amended Motion.

       9.      Counsel for Plaintiffs has conferred with incoming counsel for Defendant who

advised Defendant does not object to the three cases being consolidated but will oppose other

aspects of the motion.

       WHEREFORE, the Plaintiff respectfully requests that the Court enter an order

consolidating these matters and appointing interim counsel as requested. A proposed Order on this

Amended Motion is submitted herewith for the Court’s consideration.

DATED: August 18, 2023                       Respectfully submitted,


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                                  class

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                                  ** Pro Hac Vice Admissions forthcoming

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                                             class in Mia Jones, et al. v. Bank of America, N.A., et
                                             al., No. 3:23-cv-00491

                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2023, I have served a copy of the foregoing document

on all counsel of record by ECF filing, email and U.S. mail including to:

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